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      EXHIBIT A
   Senate and House Defendants’ Response in
  Opposition to Plaintiffs’ Motion in Limine to
  Exclude Intent-Related Testimony Reliant on
          Privileged Communications
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                                                                            Page 1

 1
 2      IN THE UNITED STATES DISTRICT COURT.
        FOR THE DISTRICT OF SOUTH CAROLINA
 3      COLUMBIA DIVISION
        -------------------------------------x
 4      THE SOUTH CAROLINA STATE CONFERENCE
        OF THE NAACP
 5
                        and
 6
        TAIWAN SCOTT, ON BEHALF OF HIMSELF                  Case No.
 7      AND ALL OTHER SIMILARLY SITUATED                    3:21-CV-03302
        PERSONS,                                            JMC-TJH-RMG
 8
                                  Plaintiffs,
 9
                        Vs.
10
        THOMAS C. ALEXANDER, IN HIS OFFICIAL
11      CAPACITY AS PRESIDENT OF THE SENATE;
        LUKE A. RANKIN, IN HIS OFFICIAL CAPACITY
12      AS CHAIRMAN OF THE SENATE JUDICIARY
        COMMITTEE; MURRELL SMITH, IN HIS OFFICIAL
13      CAPACITY AS SPEAKER OF THE HOUSE OF
        REPRESENTATIVES; CHRIS MURPHY, IN HIS
14      OFFICIAL CAPACITY AS CHAIRMAN OF THE
        HOUSE OF REPRESENTATIVES JUDICIARY
15      COMMITTEE; WALLACE H. JORDAN, IN HIS
        OFFICIAL CAPACITY AS CHAIRMAN OF THE HOUSE
16      OF REPRESENTATIVES ELECTIONS LAW
        SUBCOMMITTEE; HOWARD KNAPP, IN HIS
17      OFFICIAL CAPACITY AS INTERIM EXECUTIVE
        DIRECTOR OF THE SOUTH CAROLINA STATE
18      ELECTION COMMISSION; JOHN WELLS, JOANNE
        DAY, CLIFFORD J. EDLER, LINDA MCCALL,
19      AND SCOTT MOSELEY, IN THEIR OFFICIAL
        CAPACITIES AS MEMBERS OF THE SOUTH
20      CAROLINA STATE ELECTION COMMISSION,
21                             Defendants.
        ----------------------------------------x
22
           STENOGRAPHIC REMOTE VIRTUAL DEPOSITION
23                     BREEDEN JOHN
                 Tuesday, August 9, 2022
24
25

                                 Veritext Legal Solutions
     212-267-6868                  www.veritext.com                          516-608-2400
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                                                                      Page 21

 1                                       JOHN
 2                  Q.      Would you consider any
 3             senators part of the core team or
 4             was the core team primarily Senate
 5             staff members?
 6                  A.      Staff.
 7                  Q.      Aside from Mr. Terreni any
 8             outside counsel?
 9                  A.      No.      Not on a regular
10             basis.
11                  Q.      And who would have not been
12             on a regular basis for outside
13             counsel?
14                  A.      We would occasionally speak
15             with John Gore with Jones Day.
16                  Q.      Do you recall how often?
17                  A.      For me it was, you know,
18             over the congressional maybe four or
19             five times.         That's a rough
20             estimate, something like that.
21                  Q.      For meetings were they Zoom
22             or by Zoom?
23                  A.      Yes, by Zoom.
24                  Q.      Did you also have email and
25             any other correspondence with

                                  Veritext Legal Solutions
     212-267-6868                   www.veritext.com                      516-608-2400
